
671 S.E.2d 526 (2008)
STATE
v.
Kenneth E. ROBINSON.
No. 200P07-3.
Supreme Court of North Carolina.
December 11, 2008.
Kathleen U. Baldwin, Assistant Attorney General, William Graham, District Attorney, for State of NC.
The following order has been entered on the motion filed on the 8th day of October 2008 by Plaintiff for Notice of Belated Appeal (NOBA) Under Rule 14 Appeals of Right from Court of Appeals to Supreme Court Under G.S. 7A-30 and G.S. 15A-1444(a):
"Motion Dismissed by order of the Court in conference this the 11th day of December 2008."
